                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

IN RE: REALPAGE, INC., RENTAL                         Case No. 3:23-MD-3071
SOFTWARE ANTITRUST LITIGATION                         MDL No. 3071
(NO. II)
                                                      This Document Relates to:
                                                      3:22-cv-01082
                                                      3:23-cv-00332
                                                      3:23-cv-00357
                                                      3:23-cv-00378
                                                      3:23-cv-00410
                                                      3:23-cv-00413
                                                      3:23-cv-00552
                                                      3:23-cv-00742
                                                      3:23-cv-00979

                                                      Chief Judge Waverly D. Crenshaw, Jr.



   DEFENDANT LINCOLN PROPERTY COMPANY’S UNOPPOSED MOTION TO
   EXCUSE LIVE APPEARANCE OF GREGORY J. CASAS AT THE JULY 12, 2024
                       STATUS CONFERENCE

        Defendant Lincoln Property Company respectfully moves for leave to excuse its counsel,

Gregory J. Casas, member of Defendants’ Liaison Counsel and Steering Committee, from appearing

live at the July 12, 2024 Status Conference.

        On that date, Mr. Casas is scheduled to travel internationally and is unable to reschedule.

Should the status conference go forward, Becky Caruso, also with Greenberg Traurig, LLP and

counsel of record in this matter, is available to appear live at the hearing.

        Lincoln has conferred with Plaintiffs, who have indicated that they do not oppose this

Motion.




                                                  1
ACTIVE 699616334v1
Case 3:23-md-03071          Document 932        Filed 06/26/24       Page 1 of 3 PageID #: 16186
DATED: June 26, 2024                       Respectfully submitted,

                                           /s/ Gregory J. Casas
                                           Gregory J. Casas (admitted pro hac vice)
                                           Emily W. Collins (admitted pro hac vice)
                                           GREENBERG TRAURIG, LLP
                                           300 West 6th Street, Suite 2050
                                           Austin, TX 78701-4052
                                           Telephone: (512) 320-7200
                                           casasg@gtlaw.com
                                           emily.collins@gtlaw.com

                                           Robert J. Herrington (admitted pro hac vice)
                                           GREENBERG TRAURIG, LLP
                                           1840 Century Park East, Suite 1900
                                           Los Angeles, CA 90067
                                           Telephone: (310) 586-7700
                                           Robert.Herrington@gtlaw.com

                                           Becky L. Caruso (admitted pro hac vice)
                                           GREENBERG TRAURIG, LLP
                                           500 Campus Drive, Suite 400
                                           Florham Park, NJ 07932
                                           Telephone: (973) 443-3252
                                           Becky.Caruso@gtlaw.com

                                           /s/ Ryan T. Holt
                                           Ryan T. Holt (No. 30191)
                                           Mark Alexander Carver (No. 36754)
                                           SHERRARD ROE VOIGT & HARBISON, PLC
                                           150 Third Avenue South, Suite 1100
                                           Nashville, Tennessee 37201
                                           Telephone: (615) 742-4200
                                           rholt@srvhlaw.com
                                           acarver@srvhlaw.com

                                           Counsel for Defendant Lincoln Property
                                           Company




                                       2
ACTIVE 699616334v1
Case 3:23-md-03071     Document 932   Filed 06/26/24   Page 2 of 3 PageID #: 16187
                             CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule 7.01(a)(1), the undersigned conferred with counsel for Plaintiffs
who indicated they do not oppose the relief requested in this motion.

        DATED this 26th day of June, 2024.

                                                    /s/ Emily W. Collins
                                                    Emily W. Collins


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2024, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
attorneys of record registered on the CM/ECF system.

        DATED this 26th day of June, 2024.

                                                    /s/ Ryan Holt
                                                    Ryan Holt




                                                3
ACTIVE 699616334v1
Case 3:23-md-03071        Document 932        Filed 06/26/24      Page 3 of 3 PageID #: 16188
